                       CASE NO. 22-2812 & 22-2854

                   UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

MOREHOUSE ENTERPRISES, LLC d/b/a BRIDGE CITY ORDNANCE; ELIEZER
JIMENEZ; GUN OWNERS OF AMERICA, INC.; GUN OWNERS FOUNDATION;
STATE OF ARIZONA; STATE OF WEST VIRGINIA; STATE OF ALASKA; STATE OF
ARKANSAS; STATE OF IDAHO; STATE OF INDIANA; STATE OF KANSAS;
COMMONWEALTH OF KENTUCKY; STATE OF LOUISIANA; STATE OF
MISSOURI; STATE OF MONTANA; STATE OF NEBRASKA; STATE OF
OKLAHOMA; STATE OF SOUTH CAROLINA; STATE OF TEXAS; STATE OF UTAH;
and STATE OF WYOMING,
                       Plaintiffs-Appellants,
                                  v.
BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES; UNITED
STATES DEPARTMENT OF JUSTICE; and STEVEN M. DETTELBACH as the
DIRECTOR OF ATF,
                       Defendants-Appellees.


           On Appeal from the United States District Court
                  for the District of North Dakota
          The Honorable District Court Judge Peter D. Welte
                        Case No. 3:22-cv-116

           APPELLANTS’ UNOPPOSED JOINT MOTION
                      FOR DIVIDED ARGUMENT



     Pursuant to Federal Rule of Appellate Procedure 34(b), Eighth Cir-

cuit Rule 34A(c), and Eighth Circuit Internal Operating Procedure L.5,

Appellants respectfully move for (1) an additional five minutes of argu-

ment time and (2) divided oral argument. This consolidated case arises




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from two separate appeals: one brought by a multi-State coalition and

the other brought by private parties. Currently, Appellants are only al-

lowed fifteen minutes. Appellants respectfully request that the time at

oral argument be increased to by five minutes to twenty minutes and di-

vided equally between the two sets of Appellants, with ten minutes allot-

ted to the State Appellants and ten minutes allotted to the Private Ap-

pellants.

     Dividing argument time as proposed will ensure that each set of

Appellants may present their independent interests and that the Court

will receive the benefit of Appellants’ distinct perspectives and argu-

ments. This is particularly true here, where one set of Appellants in-

cludes sovereign states with unique interests that private parties cannot

adequately represent.

     For example, as noted in briefing, both the Private Appellants and

the State Appellants suffer different irreparable harms stemming from

the Final Rule. The seventeen State Appellants rely on their independ-

ent licensing schemes to promote public safety, and many of them have

specific state laws that will be affected by the Final Rule. The State Ap-

pellants, furthermore, will suffer unique financial harm under the Final

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Rule. These interests are best represented by counsel for the State Ap-

pellants, rather than counsel for the Private Appellants. Likewise, Pri-

vate Appellants assert harms to individual gun owners and businesses

that the State Plaintiffs cannot adequately represent.

     The undersigned has conferred with opposing counsel in this case

who do not oppose the relief sought in this request.

     DATED this 23rd day of February 2023.

Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

     This motion complies with the type-volume limit of Fed. R. App. P.

27(d)(2)(A) because, excluding the parts exempted by Fed. R. App. P.

32(f), it contains 255 words as determined by the word-counting feature

of Microsoft Word 365.

     This motion also complies with the requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) be-

cause it has been prepared using Microsoft Word 365 in 14-point propor-

tionally spaced Century Schoolbook font.

     And this motion complies with the electronic-filing requirements of

Local Rules 28A(h)(2) because it was scanned for viruses using Windows

Defender and no virus was detected.

                                          /s/ Kathleen L. Smithgall
                                          KATHLEEN L. SMITHGALL

                      CERTIFICATE OF SERVICE

     I hereby certify that on February 23, 2023, an accurate copy

of the foregoing document was served electronically through the

Court’s CM/ECF system on registered mail.


                                          /s/ Kathleen L. Smithgall
                                          KATHLEEN L. SMITHGALL

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